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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION


INTERNATIONAL BROTHERHOOD )                  Civil Action No. 3:19-cv-3304
OF ELECTRICAL WORKERS LOCAL)
98 PENSION FUND on behalf of itself )
and all others similarly situated,  )
                                    )
                   Plaintiff,       )
                                    )               CONFIDENTIALITY ORDER
vs.                                 )
                                    )
DELOITTE & TOUCHE, LLP;             )
DELOITTE LLP                        )
                                    )
                   Defendant.       )

        Whereas, the parties to this Consent Confidentiality Order (“parties”), have stipulated

that certain discovery material is and should be treated as confidential, and have agreed to the

terms of this order; accordingly, it is this 14th day of July, 2021, ORDERED:

       1.      Scope. All documents produced in the course of discovery, all responses to

discovery requests and all deposition testimony and deposition exhibits and any other materials

which may be subject to discovery (hereinafter collectively “documents”) shall be subject to this

Order concerning confidential information as set forth below.

       2.      Form and Timing of Designation.            Confidential documents shall be so

designated by placing or affixing the word “CONFIDENTIAL” on the document in a manner

which will not interfere with the legibility of the document and which will permit complete

removal of the Confidential designation; provided, however, documents produced in native

format may be designated CONFIDENTIAL in the production cover letter or the production

metadata. Documents shall be designated CONFIDENTIAL prior to, or contemporaneously

with, the production or disclosure of the documents. Inadvertent or unintentional production of

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documents without prior designation as confidential shall not be deemed a waiver, in whole or in

part, of the right to designate documents as confidential as otherwise allowed by this Order.

       3.      Documents Which May be Designated Confidential. Any party may designate

documents as confidential but only after review of the documents by an attorney 1 who has, in

good faith, determined that the documents contain information protected from disclosure by

statute, sensitive personal information, trade secrets, or confidential research, development, or

commercial information. The certification shall be made concurrently with the disclosure of the

documents, using the form attached hereto at Attachment A which shall be executed subject to

the standards of Rule 11 of the Federal Rules of Civil Procedure. Information or documents

which are available in the public sector may not be designated as confidential.

       4.      Depositions. Deposition transcripts shall presumptively be considered to have

been designated confidential for a period of seven business days following receipt of the

transcript. Thereafter, portions of depositions shall be deemed confidential only if designated as

such when the deposition is taken or within seven business days after receipt of the transcript.

Such designation shall be specific as to the portions to be protected.

       5.      Protection of Confidential Material.

       a.      General Protections. Documents designated CONFIDENTIAL under this Order

       shall not be used or disclosed by the parties or counsel for the parties or any other persons

       identified below (¶ 5.b.) for any purposes whatsoever other than preparing for and

       conducting the litigation in which the documents were disclosed (including any appeal of

       that litigation). The parties shall not disclose documents designated as confidential to

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  The attorney who reviews the documents and certifies them to be CONFIDENTIAL must be
admitted to the Bar of at least one state but need not be admitted to practice in the District of
South Carolina and need not apply for pro hac vice admission. By signing the certification,
counsel submits to the jurisdiction of this court in regard to the certification.

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 putative class members not named as plaintiffs in putative class litigation unless and until

 one or more classes have been certified.

 b.     Limited Third Party Disclosures. The parties and counsel for the parties shall

 not disclose or permit the disclosure of any documents designated CONFIDENTIAL

 under the terms of this Order to any other person or entity except as set forth in

 subparagraphs (1)-(5) below. Subject to these requirements, the following categories of

 persons may be allowed to review documents which have been designated

 CONFIDENTIAL pursuant to this Order:

        (1)     counsel and employees of counsel for the parties who have responsibility

        for the preparation and trial of the lawsuit;

        (2)     parties and current employees of a party to this Order;

        (3)     authors or recipients of the CONFIDENTIAL documents;

        (4)     court reporters engaged for depositions and those persons, if any,

        specifically engaged for the limited purpose of making photocopies of documents;

        (5)     consultants, investigators, or experts (hereinafter referred to collectively as

        “experts”) employed by the parties or counsel for the parties to assist in the

        preparation and trial of the lawsuit, but only after the person to whom disclosure

        is to be made has executed an acknowledgment (in the form set forth at

        Attachment B hereto), that he or she has read and understands the terms of this

        Order and is bound by it;

        (6)     witnesses and deponents, but if they are not parties or current employees

        of a party to this Order (covered by subsection (2) above) or the author or

        recipient of the CONFIDENTIAL document (covered by subsection (3) above),



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        only after the person to whom disclosure is to be made has executed an

        acknowledgment (in the form set forth at Attachment B hereto), that he or she has

        read and understands the terms of this Order and is bound by it;

        (7)     court personnel and mediators; and,

        (8)     other persons only upon consent of the producing party or upon order of

        the court and on such conditions as are agreed to or ordered.

 c.     Control of Documents. Counsel for the parties shall take reasonable efforts to

 prevent unauthorized disclosure of documents designated as Confidential pursuant to the

 terms of this order. If a party learns that, by inadvertence or otherwise, it has made an

 unauthorized disclosure of documents designated as Confidential, that party must

 immediately: (1) use its best efforts to retrieve such documents; (2) inform the person or

 persons to whom unauthorized disclosures were made of all of the terms of this order; (3)

 request such person or persons confirm their agreement to be bound by this order; and (4)

 notify the producing party in writing of the unauthorized disclosure and the steps taken to

 comply with this subparagraph. Counsel shall maintain a record of those persons,

 including employees of counsel, who have reviewed or been given access to the

 documents.

 d.     Copies. All copies, duplicates, extracts, summaries or descriptions (hereinafter

 referred to collectively as “copies”), of documents designated as Confidential under this

 Order or any portion of such a document, shall be immediately affixed with the

 designation “CONFIDENTIAL” if the word does not already appear on the copy. All

 such copies shall be afforded the full protection of this Order.




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       6.      Filing of Confidential Materials. In the event a party seeks to file any material

that is subject to protection under this Order with the court, that party shall take appropriate

action to ensure that the documents receive proper protection from public disclosure including:

(1) filing a redacted document with the consent of the party who designated the document as

confidential; (2) where appropriate (e.g. in relation to discovery and evidentiary motions),

submitting the documents solely for in camera review; or (3) where the preceding measures are

not adequate, seeking permission to file the document under seal pursuant to the procedural steps

set forth in Local Civil Rule 5.03, DSC, or such other rule or procedure as may apply in the

relevant jurisdiction. Absent extraordinary circumstances making prior consultation impractical

or inappropriate, the party seeking to submit the document to the court shall first consult with

counsel for the party who designated the document as confidential to determine if some measure

less restrictive than filing the document under seal may serve to provide adequate protection.

This duty exists irrespective of the duty to consult on the underlying motion. Nothing in this

Order shall be construed as a prior directive to the Clerk of Court to allow any document be filed

under seal. The parties understand that documents may be filed under seal only with the

permission of the court after proper motion pursuant to Local Civil Rule 5.03.

       7.      Greater Protection of Specific Documents. No party may withhold information

from discovery on the ground that it requires protection greater than that afforded by this Order

unless (1) that information relates to audits and other work Deloitte & Touche LLP performed

for clients other than SCANA Corporation and South Carolina Electric & Gas Company; (2) the

party moves for an Order providing such special protection; or (3) stipulated by the parties.

       8.      Challenges to Designation as Confidential. Any CONFIDENTIAL designation

is subject to challenge.   The following procedures shall apply to any such challenge.



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 a.     The burden of proving the necessity of a Confidential designation remains with

 the party asserting confidentiality.

 b.     A party who contends that documents designated CONFIDENTIAL are not

 entitled to confidential treatment shall give written notice to the party who affixed the

 designation of the specific basis for the challenge. The party who so designated the

 documents shall have fifteen (15) days from service of the written notice to determine if

 the dispute can be resolved without judicial intervention and, if not, to move for an Order

 confirming the Confidential designation.

 c.     Notwithstanding any challenge to the designation of documents as confidential,

 all material previously designated CONFIDENTIAL shall continue to be treated as

 subject to the full protections of this Order until one of the following occurs:

        (1)     the party who claims that the documents are confidential withdraws such

        designation in writing;

        (2)     the party who claims that the documents are confidential fails to move

        timely for an Order designating the documents as confidential as set forth in

        paragraph 8.b. above; or

        (3)     the court rules that the documents should no longer be designated as

        confidential information.

 d.     Challenges to the confidentiality of documents may be made at any time and are

 not waived by the failure to raise the challenge at the time of initial disclosure or

 designation.




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       9.     Treatment on Conclusion of Litigation.

       a.     Order Remains in Effect. All provisions of this Order restricting the use of

       documents designated CONFIDENTIAL shall continue to be binding after the conclusion

       of the litigation unless otherwise agreed or ordered.

       b.     Return of CONFIDENTIAL Documents. Within thirty (30) days after the

       conclusion of the litigation, including conclusion of any appeal, all documents treated as

       confidential under this Order, including copies as defined above (¶5.d.) shall be returned

       to the producing party unless: (1) the document has been entered as evidence or filed

       (unless introduced or filed under seal); (2) the parties stipulate to destruction in lieu of

       return; or (3) as to documents containing the notations, summations, or other mental

       impressions of the receiving party, that party elects destruction. Notwithstanding the

       above requirements to return or destroy documents, counsel may retain attorney work

       product. This work product continues to be Confidential under the terms of this Order.

       An attorney may use his or her work product in a subsequent litigation provided that its

       use does not disclose the confidential documents.

       10.    Order Subject to Modification. This Order shall be subject to modification on

motion of any party or any other person who may show an adequate interest in the matter to

intervene for purposes of addressing the scope and terms of this Order. The Order shall not,

however, be modified until the parties shall have been given notice and an opportunity to be

heard on the proposed modification.

       11.    Non-Parties. Any documents that may be produced by a non-party witness in

discovery pursuant to subpoena or otherwise may be designated by such non-party as

CONFIDENTIAL under the terms of this order, and any such designation by a non-party shall



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have the same force and effect, and create the same duties and obligations, as if made by one of

the parties. Any such designation shall also function as a consent by such producing party to the

authority of the court in a proceeding to resolve and conclusively determine any motion or other

application made by any person or party with respect to such designation, or any other matter

otherwise arising under this order.

       12.     Protection in Other Litigations or Proceedings. If a party is served with a

subpoena or an order issued in another litigation or proceeding that would compel disclosure of

any documents that another party has designated as confidential, that party must so notify the

designating party in writing immediately and in no event more than five business days after

receiving the subpoena or order. Such notification must include a copy of the subpoena or order.

The party that received the subpoena or order also must promptly inform in writing the party

who caused the subpoena or order to issue in the other litigation that some or all the material

covered by the subpoena or order is the subject of this order. Such notification must include a

copy of this order. The party served with a subpoena or order must cooperate with respect to all

reasonable procedures sought to be pursued by the designating party whose confidential

documents may be affected.

       13.     No Judicial Determination. This Order is entered based on the representations

and agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall

be construed or presented as a judicial determination that any specific document or item of

information designated as CONFIDENTIAL by counsel is subject to protection under Rule 26(c)

of the Federal Rules of Civil Procedure or otherwise until such time as a document-specific

ruling shall have been made.




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           14.   Inadvertent Production of Privileged Documents or Information. When a

producing party gives notice to a receiving party that certain inadvertently produced documents

or information are subject to a claim of privilege or other protection (including, without

limitation, the attorney-client privilege and the attorney-work product doctrine), the receiving

party must promptly sequester the specified information and any copies it has; must not use or

disclose the information until the claim is resolved, except to the Court, under seal and/or for in

camera review, and only for the purpose of resolving the claim; and must take reasonable steps

to retrieve the information if the party disclosed it before being notified. Any privilege or other

protection that may have been raised in documents or information produced in this litigation is

not waived as a result of the inadvertent disclosure of those documents in connection with this

litigation. The fact of production of privileged or work product information or documents by any

producing party in this litigation shall not be used as a basis for arguing that a claim of privilege

or work product has been waived in any other proceeding, provided that such production was

inadvertent and the claim of inadvertent production was raised with reasonable promptness.

Without limiting the foregoing, this order shall not affect the parties’ legal rights to assert

privilege or work product claims over documents in any other proceeding. This order shall be

interpreted to provide the maximum protection allowed by Federal Rule of Evidence 502(d).

           15.   Persons Bound. This Order shall take effect when entered and shall be binding

upon: (1) counsel who signed below and their respective law firms; and (2) their respective

clients.

           IT IS SO ORDERED.

                                              /s/ Margaret B. Seymour
                                              Senior United States District Judge

Columbia, South Carolina

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                                 ATTACHMENT A
                    CERTIFICATION BY COUNSEL OF DESIGNATION
                        OF INFORMATION AS CONFIDENTIAL

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                             [DIVISION [all caps]] DIVISION

[Plaintiff]                                  )        Civil Action No. [Case Number]
                                             )
      Plaintiff,                             )        Certification by Counsel of Designation
vs.                                          )          of Information as Confidential
[Defendant]                                  )
                                             )
        Defendant                            )
                                             )

       Documents produced herewith [whose bates numbers are listed below (or) which are
listed on the attached index] have been marked as CONFIDENTIAL subject to the
Confidentiality Order entered in this action which Order is dated [confidentiality order date].

       By signing below, I am certifying that: (1) I have been involved in the process by which
documents have been reviewed and produced in this litigation; (2) I have instructed all document
reviewers on the requirements of the Confidentiality Order and have directed them to mark
documents as confidential only if they are properly subject to protection under the terms of
Paragraph 3 of the Confidentiality Order in the form that was in effect at the time of the review;
and (3) the confidentiality markings made by the reviewers constitute a certification that they
have been done in accordance with those terms.

        Check and complete one of the two options below.

        ❑      I am a member of the Bar of the United States District Court for the District of
               South Carolina. My District Court Bar number is [District Court Bar #].

        ❑      I am not a member of the Bar of the United States District Court for the District of
               South Carolina but am admitted to the bar of one or more states. The state in
               which I conduct the majority of my practice is [state in which I practice most]
               where my Bar number is [that state's Bar #]. I understand that by completing this
               certification I am submitting to the jurisdiction of the United States District Court
               for the District of South Carolina as to any matter relating to this certification.

Date: [date attachment A signed]                            [Signature of Counsel [s/name]]
                                                            Signature of Counsel

                                                            [Printed Name of Counsel [A]]
                                                            Printed Name of Counsel

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                                       ATTACHMENT B

                       ACKNOWLEDGMENT OF UNDERSTANDING
                                    AND
                            AGREEMENT TO BE BOUND

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                             [DIVISION [all caps]] DIVISION



[Plaintiff]                                  )        Civil Action No. [Case Number]
                                             )
      Plaintiff,                             )
vs.                                          )        Acknowledgment of Understanding
[Defendant]                                  )                  and
                                             )            Agreement to be Bound
        Defendant                            )
                                             )
                                             )


       The undersigned hereby acknowledges that he or she has read the Confidentiality Order
dated [confidentiality order date], in the above captioned action, understands the terms thereof,
and agrees to be bound by such terms. The undersigned submits to the jurisdiction of the United
States District Court for the District of South Carolina in matters relating to the Confidentiality
Order and understands that the terms of said Order obligate him/her to use discovery materials
designated CONFIDENTIAL solely for the purposes of the above-captioned action, and not to
disclose any such confidential information to any other person, firm or concern.

         The undersigned acknowledges that violation of the Stipulated Confidentiality Order may
result in penalties for contempt of court.

               Name:                  [undersigned name [att B]]
               Job Title:             [Job Title [att B]]
               Employer:              [Employer [att B]]
               Business Address:      [Business Address [att B]]


Date: [date attachment B signed]                            [Signature [attachment B]]
                                                            Signature




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